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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

SONN KIM KE,                                        )
                      Petitioner,                   )
v.                                                  )      No. 3:09-CV-1704-B
                                                    )
UNITED STATES DEPT. OF HOMELAND                     )
SECURITY,                                           )
                Respondent.                         )




                                            ORDER

       After making the review required by 28 U.S.C. § 636(b), the Court finds that the

Findings, Conclusions and Recommendation of the Magistrate Judge are correct, and they are

adopted as the findings and conclusions of the Court.

       Signed this 29th day of January, 2009.




                                            _________________________________
                                            JANE J. BOYLE
                                            UNITED STATES DISTRICT JUDGE
